Case 4:19-cv-01127 Document 1-1 Filed on 03/27/19 in TXSD Page 1 of 15




                   Exhibit A
               Case 4:19-cv-01127 Document 1-1 Filed on 03/27/19 in TXSD Page 2 of 15




Co
csc                                                                                                                      null / ALL
                                                                                                     Transmittal Number: 19482569
Notice of Service of Process                                                                            Date Processed: 03/12/2019

Primary Contact:           SOP Team nwsop@nationwide.com
                           Nationwide Mutual Insurance Company
                           Three Nationwide Plaza
                           Columbus, OH 43215

Electronic copy provided to:                   Ashley Roberts

Entity:                                       Depositors Insurance Company
                                              Entity ID Number 0149484
Entity Served:                                Depositors Insurance Company
Title of Action:                              Cangelosi Company, Inc vs. Depositors Insurance Company
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Fort Bend County District Court, TX
Case/Reference No:                            19-DCV-260286
Jurisdiction Served:                          Texas
Date Served on CSC:                           03/11/2019
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Douglas E. Koger
                                              N/A

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                             ~a.
                           ~ Document 1-1
             Case 4:19-cv-01127                                                                  Filed on 03/27/19 in TXSD Page 3 of 15
                                  ~ °~~ ~~~~~        THE
                                          C\'t' *‘ THE   STATE
                                                       STATE OFOFTEXAS
                                                                  TEXAS
                  CO              °I*°""1—
                        to\ t   \SI                       CITATION

TO:      DEPOSITORS INSURANCE COMPANY
         C/O CORPORATION SERVICE COMPANY
         211 E 7TH STREET SUITE 620
         AUSTIN TX  78701-3218
                 TX 78701-3218

NOTICE:

You have
     have been
           been sued.   You may
                  sued. You  may employ
                                   employ an attorney.
                                             attorney. IfIfyou
                                                            youor
                                                                oryour
                                                                   your attorney
                                                                        attorney do
                                                                                 do not
                                                                                     not file
                                                                                         file aa written answer with the
                                                                                                 written answer
clerk who issued this citation by 10:00 a.m. on Monday next following         expiration of twenty days after you were
                                                               following the expiration
served this citation
            citation and PLAINTIFF'S ORIGINAL PETITION filed on MARCH 06, 2019, a default judgment may be
taken against you.

The case is presently pending before
                               before the 458TH JUDICIAL DISTRICT COURT of Fort Bend County sitting in
                                      the 458TH_JUDICIAL
           Texas. ItItbears
Richmond, Texas.      bearscause
                            causenumber
                                  number19=DCV=260286
                                          19=DCV-260286 and
                                                         andisis_styled:
                                                                 styled:

CANGELOSI COMPANY, INC.
                   INC. V.
                        V. DEPOSITORS;
                           DEPOSITORS INSURANCE
                                       INSURANCE COMPANY

The name and address of the attorney for PLAINTIFF is:

DOUGLAS E.E. KOGER"
             KOGER         .' .•                                                    ,.:                                                   -
ATTORNEY
ATTORNEY ATAT LAW
              LAW                                                                         -. .                            ~           .
24275 KATY
      KATY FREEWAY
            FREEWAY SUITE 400 '
                    SUITE`400                                  ~
KATY     77494" "
KATY TX 77494                                                                                                             '
                                                                                                                                  %
346-387-7167

The nature of -the
The nature      thedemands
                    demandsof said
                            of`: said PLAINTIFF
                                      PLAINTIFFisis shown
                                                     shown by by aa true`     correct copy
                                                                          and correct
                                                                    true and                   the PLAINTIFF'S
                                                                                      copy of the  PLAINTIFF'S
ORIGINAL PETITION accompanying this citation
                                       citation and made aa part
                                                and'made    part hereof.
                                                                 hereof.. "

If this
    this Citation
         Citation is not
                     not served,
                         served, itit shall
                                       shall bebe returned
                                                   returned unserved.
                                                                unserved. Issued
                                                                           Issued under
                                                                                  under my     rriy hand
                                                                                                    hand and
                                                                                                           and seal
                                                                                                                seal of said Court,     Court, at
Richmond,
Richmond, Texas,
               Texas,on
                      onthis
                          this the
                               the 7th day of  of March,
                                                  March, 2019.
                  ,                                          _.              .
                                           ,                        DISTRICT
                                                                    DISTRICT,CLERK
                                                                                CLERKBEVERLEY BEVERLEY MCGREW
                                                                                                            MCGREW WALKER     WALKER
                                                                    FORT BEND:COUNTY,".TEXAS
                                                                            BEND COUNTY, TEXAS
                                 ,               • r'               Physical'Address:
                                                                    Physical`Address~~
                                                                    1422 Eugene'
                                                                          Eugene,Heimann
                                                                                   Heimann Circle, Circle, Room
                                                                                                           Room 31004
                                                                    RiChmond, Texas 77469
                                                                    Ricfimond,
                                                                    Mailing Address:                                     ‘01% 411:1 E; ! NI
                                                                    301 Jackson
                                                                         Jacksbn                                   ~~~~~,~;.'►~u~.~:~~~~~~
                                                                    Richmond, Texas 77469.77469                  ,`-,•\\‘ •
                                                                                                               ~~~p• •
                                                                                                                                   1.9v)(//'".,.      ,        .. . .
                                                            w _
                                                           . . .~ . ..,"          •                           ~ ~. .   .•                   •~,~
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                                                                                                                                                 %    r~
                                                                                 . '.
                                         ^• r.~  s Y..:...                            . . r '                '
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                                                '^we. ...      „~           . .. . ::.                     ....._.. .         '               ~
                                                                                                                                              -            •     .           ~r
                                                            '...    ,   .                          _   "                                          .        •         '~'   : ~.-• ~
                                                                                                                                              -                              C)=-
                                                                                                                                                                           • 0 ,1
                                                                                                                                                                                1:
                                                                                                 By Deputy District
                                                                                                           District Clerk AUTUMN DoLrgq..-
                                                                                                                    Clerk AUTUMN DOLNIIaS,-••                    : s.
                                                                                                    Telephone: (281) 238-3279        ~ J~•,                      • ~~;
                                                                                                                                      ~~ ~••                   •„_
                                                                                                                                                            •.;~
                                                                                                                                                                *‘<.,
                                                                                                                                                                ~tr~
                                                                                                                                       ~. ~ •.
                                                                                                                                                                . ...•-*
                                                                                                                                        ~,~~`~•~~~,.~• f;'~~ `,`~,
                                                                                                                                            4; 6(.0 -1-c-;.
                                                                                                                                                       ,•_      ~




                                                                                 SERVICE
                   Case 4:19-cv-01127 Document 1-1 Filed on 03/27/19 in TXSD Page 4 of 15
             11

A

    19-DCV-260286                                                                                                     458th Judicial
                                                                                                                      458th          District
                                                                                                                            JudicialDistrict  Court
                                                                                                                                             Court
    Cangelosi Company,
    Cangelosi Company,Inc.
                       Inc.v.v.
                              Depositors Insurance
                                Depositors         Company
                                            Insurance Company

                                                CERTIFICATE OF DELIVERY BY CERTIFIED
                                                CERTIFICATE OF             CERTIFIED MAIL
                                                                                     MAIL


                  Came to hand on the                                    at          o'clock and executed
                                                  ,on the                                      , by delivering to the within named
                                                        certified mail, with delivery
                                       by registered or certified                                      addressee only, return receipt
                                                                             delivery -- restricted to addressee
    requested, a true copy of this citation together
                                            together with
                                                     with the accompanying copy of the petition were attached thereto.

    Fee......... $8.00 Issuance + $80.00 Service
                 $8.00 Issuance          Service = $88.00


    CMRRR# 9414 7266 9904 2140 9914 96



                                                                                    DISTRICT CLERK               MCGREW WALKER
                                                                                                      BEVERLEY MCGREW
                                                                                               CLERK BEVERLEY             WALKER
                                                                                    FORT BEND COUNTY,     TEXAS
                                                                                                 COUNTY, TEXAS
                                                                                    Physical Address:
                                                                                    1422 Eugene Heimann Circle, Room 31004
                                                                                    Richmond, Texas 77469
                                                                                    Richmond,
                                                                                    Mailing Address:
                                                                                    301 Jackson
                                                                                    Richmond, Texas 77469



                                                                                    By:
                                                                                    Deputy District Clerk Autumn
                                                                                                          AutumnDolnik
                                                                                                                 Dolnik



    COMPLETE IF YOU ARE A
                        A PERSON
                          PERSON OTHER'THAN
                                 OTHER THANAASHERIFF.
                                              SHERIFF,CONSTABLE,
                                                      CONSTABLE,OR
                                                                 ORCLERK
                                                                    CLERKOF
                                                                          OFTHE
                                                                             THECOURT.
                                                                                 COURT.
    In accordance with Rule
                        Rule 107:           officer orauthorized
                              107: The officeror          authorizedperson
                                                                     personwho
                                                                            who serves,
                                                                                 serves, oror attempts to serve,
                                                                                                          senre, aa citation
                                                                                                                    citation shall
                                                                                                                              shall sign
                                                                                                                                    sign the
                                                                                                                                          the return.
                                                                                                                                               return. The signature is
    not required to be verified. IfIfthe
                                      the return
                                           return isissigned
                                                       signedbybyaaperson
                                                                    person other
                                                                           other than
                                                                                  than aa sheriff,
                                                                                          sheriff, constable, or the clerk ofof the court, the return shall be signed
    under penalty of perjury and contain
                                    contain the
                                              the following
                                                     following statement:
                                                               statement;

    "My name is                                                                                                                   , my date of birth is
                     (First, Middle, Last)

                                                 , and my address is
                                                   and,my
                                                                                           (Street, City, Zip)



I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS
                                                      IS TRUE
                                                         TRUE AND CORRECT.

    Executed in                                                          County, State of

    on the day of

                                                                                    Declarant / Authorized
                                                                                                Authorized Process Server


                                                                                    (Id # & expiration of certification)
                                                                      ORIGINAL



    Citation (By Certified Mail) issued to Depositors Insurance
                                                      Insurance Company on 3/7/2019.
     Case 4:19-cv-01127 Document 1-1 Filed on 03/27/19 in TXSD Page 5 of 15
'                                                                                                           Filed
                                                                                              3/6/2019 1:52 PM
                                                                                       Beverley
                                                                                       Beverley McGrew    Walker
                                                                                                McGrewWalker
                                                                                                   District Clerk
                                                                                       Fort Bend County, Texas
                                                                                          Salena Jasso

                                             NO.19-DCV-260286
                                       CAUSE N0.19-DCV-260286

    CANGELOSI COMPANY, INC.                     §              IN THE DISTRICT COURT
                                                §
    v.
    V.                           §         OF FORT BEND
                                                     BEND COUNTY
                                                             COUNTY TEXAS
                                 § Fort
                                   Fort Bend
                                        Bend County
                                             County - 458th Judicial District Court
    DEPOSITORS
    DEPOSITORS INSURANCE
                INSURANCECOMPANY
                         COMPANY §                      JUDICIAL DISTRICT

                               PLAINTIFF'S ORIGINAL PETITION
                                                    PETITION

         Cangelosi Company,
         Cangelosi Company, Inc.,  plaintiff, files
                             Inc., plaintiff, files this
                                                    this Plaintiff
                                                          Plaintiffss Original
                                                                      Original Petition
                                                                                Petition

complaining
complainingof
            of Depositors
               Depositors Insurance
                          Insurance Company,
                                    Company,defendant,
                                             defendant,and
                                                        and would
                                                            would show
                                                                  show the

following:

                                           I.
                             RULE 47
                                  47 STATEMENT; LEVEL 33 CASE
                                                         CASE

         i.
         1.     Plaintiff seeks damages in
                                        in an
                                           an amount
                                              amount within the jurisdictional limits of this

court. Plaintiff seeks only monetary relief
                                     relief in
                                            in an amount in excess
                                                            excess of one million dollars

including
including damages
          damages of
                  of any kind, penalties, costs, expenses,
                               penalties, costs, expenses, pre
                                                           prejudgment
                                                               judgment interest, and

attorney's fees. Plaintiff intends
                           intends to
                                    to conduct
                                        conduct discovery
                                                discovery under
                                                          under Level
                                                                Level 33 of
                                                                         of Rule
                                                                            Rule 19o, Texas
                                                                                      Texas

         CivilProcedure.
Rules of Civil Procedure.

                                               II.
                                      PARTIES AND SERVICE

         2.
         2.     Cangelosi Company,
                Cangelosi Company, Inc.
                                    Inc. ("Cangelosi")
                                         ("Cangelosi")isisaa Texas
                                                             Texas corporation
                                                                   corporation with
                                                                               with its

principal place of business
                   business in
                             in Fort
                                Fort Bend
                                     Bend County,
                                          County, Texas.

         3.     Depositors Insurance Company
                Depositors Insurance Company ("Depositors")  is foreign
                                             ("Depositors") is   foreign insurance
                                                                          insurance

company authorized
company authorized to transact business
                               business in Texas
                                           Texas and transacting
                                                     transacting business
                                                                 business in
                                                                          in Texas.
                                                                             Texas.

Depositors may be served
                  served by serving its
                                    its registered
                                        registered agent Corporation
                                                         Corporation Service Company at

211 E.
211 E.7th
       7thStreet,
           Street,Suite
                   Suite 620
                         62o Austin, Texas 78701-3218.
                                           78701-3218.




Plaintiffs
Plaintiff s Original
            Original Petition
                     Petition —
                              — Page
                                 Page1i of
                                        of10
                                           io


                                                G(Opy
  Case 4:19-cv-01127 Document 1-1 Filed on 03/27/19 in TXSD Page 6 of 15




                                             III.
                                            III.
                                  JURISDICTION
                                  JURISDICTIONANDANDVENUE
                                                     VENUE

        3.
        3.      Cangelosi's
                Cangelosi's damages are in an are
                                damages       amount
                                                  inwithin the jurisdictional
                                                     an amount        within     theof jurisdictional
                                                                              limits   this

court.
court. ThisThis
            is an insurance coverage case concerning
                   is an insurance         coveragedamage
                                                     casetoconcerning
                                                            property locateddamage
                                                                             in Fort to propert

Bend
BendCounty,
     County,TexasTexas
                  owned by Cangelosi
                        owned   by and  insured by and
                                     Cangelosi     Depositors.
                                                       insured The insurance
                                                                    by Depositors.
                                                                             policy The ins

in
inquestion
   questionwas sold
                wasto sold
                      Cangelosi
                            toinCangelosi
                                 Fort Bend County, Texas. Bend
                                             in Fort      Accordingly,
                                                                County,      Texas. According
                                                                       jurisdiction

and
andvenue
    venueare proper in Fort Bend
             are proper      in County,
                                 Fort Bend
                                        Texas. County, Texas.

                                                  IV
                                                  IV
                                                FACTS
                                                FACTS

        4.
        4.     On about
                   aboutAugust 30, 2017
                          August   2017
                                     30,Cangelosi's
                                        Cangelosi's building at 14021 S. at
                                                           building      Gessner
                                                                            14021Rd. S. Gessner

Missouri
Missouri       Texas 77489
         City,City,   Texas(the77489
                                "Cangelosi
                                      (the Building") suffered damage
                                              "Cangelosi       Building")    suffered
                                                                      caused by wind  damage c

and
andwind
    winddriven water. More
            driven         specifically,
                      water.    More aspecifically,
                                         storm with significant
                                                            a storm
                                                                amountswith
                                                                       of rain significant
                                                                               and a       amou

tornado
tornado or tornado force winds
            or tornado         passed
                           force      over or passed
                                    winds     near the Cangelosi
                                                        over orBuilding.
                                                                 near Thethewinds
                                                                             Cangelosi Buil

knocked down
knocked      treestrees
          down     and treeand
                            limbs,tree
                                   blew gutters
                                        limbs,  andblew  gutters
                                                    downspouts off theand downspouts off
                                                                       Cangelosi

Building,
Building, and damaged the roof and
               and damaged     thewalls
                                   roof of the
                                            andCangelosi
                                                  wallsBuilding.
                                                         of the    Cangelosi
                                                                 Rainwater enteredBuilding. Ra

the
theCangelosi
    CangelosiBuilding through thethrough
                    Building      damaged roof.
                                           theThat water damaged
                                                damaged    roof. ceilings,
                                                                  That water
                                                                           walls, damaged ce

floors and and
floors     other other
                 portions portions
                          of the building.
                                        ofBefore
                                            the the
                                                 building.       Before
                                                    storm, the roof       the
                                                                    and walls     storm, the ro
                                                                              of the

Cangelosi
Cangelosi Building did not leak,
               Building      didand certainly
                                  not   leak, did and
                                                  not leak to the extent,did
                                                        certainly         in the
                                                                               not leak to the ex
                                                                                 manner

and
andatat
      the the
          locations that it leaked
                locations          during
                                 that   itand after the during
                                            leaked      August 2017
                                                                 andstorm.
                                                                       after
                                                                           At thethe
                                                                                  timeAugust 2017

Cangelosi
Cangelosi was insured for the lossfor
              was insured          under
                                      theinsurance
                                             loss policy
                                                   under     ACP CPPD 3007964391
                                                         no. insurance   policy (the
                                                                                 no. ACP CPPD 30

"Policy") issuedissued
"Policy")        by Depositors. Cangelosi made its
                         by Depositors.            claim on themade
                                               Cangelosi        Policyits  claim on the Poli
                                                                       and provided

Depositors notice
Depositors        of the loss
                notice     ofonthe
                                August 3o, 2017.
                                    loss         Cangelosi's30,
                                            on August        covered
                                                                 2017.  Cangelosi's
                                                                     damages are in the covered da

amount   at least
amountof of   at $604,427.98
                   least
                  $604,427•98less
                              lessthe applicable deductible. deductible.
                                      the applicable

       5.
       5.      Upon
               Upon receipt
                     receiptof Cangelosi's claim Depositor's
                                 of Cangelosi's         claimretained
                                                                  Depositor's
                                                                      Wade S. Lewisretained
                                                                                    to      Wade

inspect
inspect the Cangelosi Building. Mr.
            the Cangelosi           Lewis conducted
                                Building.     Mr. aLewis
                                                    brief inspection
                                                            conductedof theaCangelosi
                                                                              brief inspection

Plaintiffs
Plaintiffs Original Petition —— Page
                 Original               of 10
                                 Page22 of
                                 Petition  10
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,




    Building. On
    Building. On October 3, 2017 Depositor's denied Cangelosi's
                                                    Cangelosi's claim
                                                                claim contending
                                                                      contending that
                                                                                  that the

    damage to Cangelosi's
    damage    Cangelosi's Building,
                          Building,other
                                    other than
                                           than damage
                                                damage to
                                                        to the gutters and downspout, was

    excluded under the policy. Depositors contended
             under the                    contended that the
                                                         the damages to the roof and
                                                                                 and exterior

    wall
    wall were
         were caused
              caused by       movement; wear
                     by earth movement; wear and
                                             and tear rust or
                                                           or other
                                                              other corrosion,
                                                                     corrosion, decay,
                                                                                 decay,

    deterioration, hidden
                   hidden or
                          or latent
                             latent defect
                                    defect or quality in the property that caused it to damage

    or destroy itself; smog; and/or
                             and/or settling,
                                     settling, cracking,
                                                cracking, shrinking
                                                          shrinking or
                                                                    or expansion.
                                                                        expansion. Depositors
                                                                                   Depositors

    further contendedthat
    further contended thatwater
                          watercausing
                                causing the
                                        the interior
                                            interior water
                                                     water damage did not enter the building

    as a result of
                of the
                    the building
                        buildingsustaining
                                 sustaining aa Covered
                                               Covered Loss under the Policy. Based on
                                                                      Policy. Based on that,

    Depositors contended that the
               contended that  theinterior
                                   interiordamage
                                           damagewas
                                                  was excluded
                                                      excluded under the
                                                                     the Policy.
                                                                         Policy.

            6.      Upon receipt of Depositors'
                    Upon receipt    Depositors' denial
                                                denial of
                                                       of the claim,
                                                               claim, Cangelosi hired a
                                                                      Cangelosi hired

    professional engineer to inspect the Cangelosi Buildingand
                                         Cangelosi Building and render
                                                                 render an
                                                                        an opinion
                                                                           opinion about the

    cause of
          of the
              the damages.
                  damages. Cangelosi's
                           Cangelosi's engineer
                                       engineer determined
                                                determined that high winds damaged the roof

    and walls to
              to the
                 the Cangelosi Building
                               Buildingand
                                        andititwas
                                               wasthat
                                                   thatdamage
                                                        damagethat
                                                               that permitted
                                                                    permitted water
                                                                              water to enter

    and damage the building
                   building interior.
                            interior. Cangelosi provided its
                                      Cangelosi provided its engineer's
                                                             engineer's report to Depositors

    requesting that Depositors
    requesting      Depositors reconsider
                               reconsider denial of Cangelosi's  insurance claim.
                                                    Cangelosi's insurance  claim. Without
                                                                                  Without

    further inspection of
    further inspection of the
                           theCangelosi
                               Cangelosi Building,
                                         Building, Depositors' engineer reported
                                                   Depositors' engineer reported that

    Cangelosi's engineer
    Cangelosi's          was incorrect.
                engineer was  incorrect. Cangelosi
                                          Cangelosi provided
                                                     provided Depositor's
                                                               Depositor's engineer's
                                                                            engineer's

    supplemental
    supplemental report to its
                 report to  itsown
                                ownengineer.
                                    engineer. Cangelosi's
                                               Cangelosi's engineer
                                                           engineer who
                                                                    who reviewed
                                                                         reviewed that

    supplemental          re-inspected the Cangelosi
    supplemental report, re-inspected      Cangelosi Building and supplemented
                                                     Building and supplemented its own
                                                                                   own

    report. Cangelosi's engineer's supplement detailed errors in Depositors' analysis and re-

    affirmed its original opinion that
                 original opinion  thatthe
                                        theroof
                                            roofto
                                                 tothe
                                                    theCangelosi
                                                       Cangelosi Building
                                                                 Building was 'damaged
                                                                              damaged by
                                                                                       by high

    winds in the August 2018 storm. Cangelosi's engineer also
                                                         also re-affirmed
                                                              re-affirmed that
                                                                          that roof damage

    permitted water
    permitted water to enter
                        enter the
                               thebuilding
                                   building damaging
                                             damaging the
                                                       the interior.
                                                            interior. Cangelosi
                                                                      Cangelosi provided
                                                                                provided its



    Plaintiffs Original Petition — Page 33 of 10
                                 — Page
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engineer's supplemental report
                        report to
                               to Depositors. Depositors rejected
                                  Depositors. Depositors rejected that
                                                                   that determination
                                                                        determination as

to the cause of damages without further
                                further inspection
                                        inspection or
                                                   or inquiry
                                                      inquiryof
                                                              of Cangelosi.

        7.
        7.      Cangelosi made written notice of its
                                                 its claim
                                                     claim and
                                                           and demands
                                                               demands for payment of the

debt
d'ebt and
      and that Depositors
               Depositors fulfill
                          fulfill its obligations under the policy.
                                                            policy. Depositors failed
                                                                               failed and

refused
refused to pay this
               this claim.
                    claim. Cangelosi
                           Cangelosi hired
                                     hired the services of the
                                               services of the attorney whose
                                                                        whose name is

subscribed
subscribed to this petition
                   petition to
                             to prosecute
                                 prosecute this
                                            this action.
                                                  action. Cangelosi agreed to
                                                          Cangelosi agreed to pay for those

services. Accordingly, pursuant
services. Accordingly, pursuant to
                                 to §38.001
                                     §38.001Texas
                                             Texas Civil
                                                    Civil Practice
                                                          Practice &
                                                                   & Remedies
                                                                     Remedies Code,
                                                                              Code,

    1•152 and
§§541.152
§§54      and 542.o6
              542.06Texas   InsuranceCode,
                     Texas Insurance Code,§17.5o
                                           §17.50 Texas Business and Commerce Code

and other applicable
          applicable law,
                     law, Cangelosi  is entitled
                          Cangelosi is  entitled to recover
                                                    recover the
                                                            the reasonable and necessary

attorney's fees incurred
attorney's fees incurredin
                         inthis
                            thisaction
                                 actionfor
                                        forwhich
                                           which Cangelosi      sues.
                                                 Cangelosi also sues.

        8.      All
                All conditions precedent to this action and the remedies sought have been

performed or occurred.

                                               V.
                                        CAUSES OF ACTION

                                        a) Breach of Contract

        9.      Cangelosi incorporates
                Cangelosi  incorporatesthe
                                        theallegations
                                            allegationsofofparagraphs
                                                            paragraphs1ithrough
                                                                         through 88 as the

            of this
allegations of this paragraph.
                    paragraph.

       io.
       10.      Depositors breached its
                Depositors breached its contract,
                                        contract, the
                                                  the Policy,      Cangelosi and
                                                      Policy, with Cangelosi and that
                                                                                  that breach

damaged Cangelosi in the amount of at least $604,427.98
                                            $604,427•98 less the applicable deductible.
More specifically,
More specifically, Cangelosi
                   Cangelosipurchased
                             purchasedinsurance
                                       insurance from
                                                  from Depositors
                                                       Depositors and acquired
                                                                       acquired

insurance under
          underinsurance
                insurancepolicy
                          policyno.
                                 no.ACP
                                    ACP CPPD
                                        CPPD 3007964391 issued by Depositors. On

about August 30, 2017
                 2017 a storm damaged
                              damaged the
                                      theCangelosi
                                          Cangelosi Building.
                                                    Building. More specifically, high

winds damaged
      damaged the
              theroof
                  roofand
                      andwalls
                          walls of
                                of the
                                   the Cangelosi
                                       Cangelosi Building. That
                                                           That damage allowed water

to enter the
         the building
             building and
                      anddamage
                          damage ceilings,        floors and
                                 ceilings, walls, floors and other
                                                             other portions of the building.


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The damages to the
The damages    the Cangelosi
                   Cangelosi building are covered
                             building are         under the Policy.
                                          covered under             They are
                                                            Policy. They are not

excluded
excluded or excepted. Cangelosi's
         or excepted. Cangelosi'scovered
                                  covereddamages
                                          damagesare
                                                   areininthe
                                                           the amount
                                                               amount of
                                                                      of at least
                                                                             least

$604,427.98 less the
$604,427.981ess  the applicable
                     applicable deductible.

        ii.
        11.     Cangelosi
                Cangelosi properly notified
                                   notified Depositors
                                            Depositors of
                                                       of the
                                                           the loss and otherwise complied

with its obligations under
                     under the
                           the Policy.
                               Policy. Depositors breached its obligations under the
                                                                                 the Policy

and failed and refused to
           and refused  to pay
                           pay the
                               the covered
                                   covered loss. Depositors' breach damaged
                                                                    damaged Cangelosi
                                                                            Cangelosi in

the amount
    amount of
           of at least
                 least $604,427.981ess
                       $604,427.98 less the
                                        the applicable deductible.

        12.
        12.     Cangelosi also
                Cangelosi also seeks
                               seeks recovery
                                     recoveryofofattorney's
                                                  attorney'sfees,
                                                             fees,costs
                                                                   costsand
                                                                         and pre
                                                                             pre and post

         interest and
judgment interest andall
                      all other
                          other available
                                available remedies under
                                                   under this
                                                         this cause
                                                              cause of action.

                          b) Unfair Methods of Competition andand
          Unfair or Deceptive
                    Deceptive Acts or Practices;
                                      Practices: Chapt. 541       Insurance Code
                                                        S41 Texas Insurance

        13.
        13.     Cangelosi
                Cangelosi incorporates
                           incorporatesthe
                                        theallegations
                                            allegationsofofparagraphs
                                                            paragraphs1ithrough
                                                                         through 88 as the

allegations of
            of this
                this paragraph.
                     paragraph.

       14.
       14.      Depositors
                Depositors committed
                           committedunfair
                                     unfair methods
                                            methods of
                                                    of competition
                                                       competition and
                                                                    and unfair
                                                                        unfair or

deceptive
deceptive acts or practices
                  practices in
                             in violation
                                 violation of
                                           of Texas
                                              Texas Insurance
                                                     Insurance Code
                                                               Code damaging
                                                                     damaging Cangelosi.
                                                                              Cangelosi.

More specifically,
     specifically, the
                    the Cangelosi
                        Cangelosi Building
                                  Buildingdid
                                           didnot
                                               notleak
                                                   leakprior
                                                        priorto
                                                              tothe
                                                                 thestorm
                                                                     storm that
                                                                            that occurred on

about August 30, 2017. That storm damaged the
                                          the Cangelosi Building and
                                                                 and caused water to

enter the building
enter the building damaging
                   damagingceilings,
                            ceilings, walls, floors
                                             floors and
                                                    and other
                                                        other portions of the building. The

water and wind damage occurred during the storm and was observed for
                                                                 for the first time

immediately
immediatelyafter
            after the
                   the storm.
                       storm. Further,
                              Further, the storm winds
                                                 winds were
                                                       were tornado
                                                            tornado winds
                                                                    winds and/or

tornado force and caused
                  caused significant
                         significant and obvious damage
                                                 damage to and around
                                                               around the
                                                                      the Cangelosi
                                                                          Cangelosi

Building including
         including knocking
                   knocking down
                            down trees
                                  trees and
                                        and tree
                                             tree limbs,
                                                   limbs, knocking
                                                          knockinggutters
                                                                   gutters and
                                                                           and downspouts
                                                                               downspouts

off the Cangelosi
off     Cangelosi Building,
                  Building, and damaging the roof
                                             roof and
                                                  and walls
                                                      walls of
                                                            of the
                                                               the Cangelosi
                                                                   Cangelosi Building.
                                                                             Building.
Accordingly,
Accordingly, itit was
                  was reasonably
                       reasonably clear
                                  clearthat
                                        that the
                                              the storm
                                                  storm caused the damage.


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        15.     Depositors however denied Cangelosi's
                                          Cangelosi's claim
                                                      claim contending
                                                            contending that
                                                                        that the damage

to the Cangelosi
       Cangelosi Building
                 Building was
                          was caused
                              causedby
                                     byearth
                                        earth movement;
                                              movement;wear
                                                        wearand
                                                             andtear,
                                                                 tear, rust
                                                                       rust or other

corrosion,
corrosion, decay,
           decay, deterioration,
                  deterioration, hidden
                                 hidden or
                                        or latent
                                           latent defect
                                                  defect or
                                                         or quality
                                                            quality in
                                                                     in the
                                                                        the property that

caused
caused it    damage or
       it to damage or destroy
                        destroy itself;
                                 itself; smog;
                                          smog; and/or
                                                and/or settling,
                                                        settling, cracking,
                                                                   cracking, shrinking
                                                                             shrinking or

expansion. None of those
expansion. None          conditions, if they existed, would
                   those conditions,                  would have
                                                            haveresulted
                                                                 resulted in
                                                                           in the
                                                                               the immediate
                                                                                    immediate

water penetration
      penetration and
                  anddamage
                      damageCangelosi
                            Cangelosi experienced for the 1st
                                                          ist time during the
                                                                          the August

2017 storm
     storm without the
                   the wind
                       wind damage
                            damage to the
                                      the Cangelosi Building. Further,
                                          Cangelosi Building. Further, upon receipt of

Depositors' initial denial, Cangelosi
            initial denial,           retained a professional engineer to inspect and
                            Cangelosi retained                                    and review

Depositors'
Depositors' findings. Cangelosi's engineer
            findings. Cangelosi's engineer specifically
                                           specificallyrebutted
                                                        rebutted each
                                                                 each of Depositors'
                                                                         Depositors'

findings concerning
findings concerning the damage
                        damage to
                                to the
                                    theCangelosi
                                        Cangelosi Building.
                                                   Building. Cangelosi
                                                             Cangelosi provided
                                                                       provided its

           reportsto
engineer's reports toDepositors.
                     Depositors.Depositors
                                 Depositors continued
                                            continuedto
                                                      todeny
                                                        deny Cangelosi's
                                                             Cangelosi's claim without

further inspectionof
further inspection ofthe
                      theCangelosi
                         Cangelosi Building
                                   Building or
                                            or inquiry
                                               inquiry of
                                                       of Cangelosi concerning its claim.

       16.      Depositors' actions
                Depositors' actions described above are unfair method of competition or an

unfair or deceptive act or practice
                           practice in the
                                       the business
                                           business of
                                                    of insurance in
                                                                 in violation Chapter 541

Texas Insurance
      Insurance Code
                Code in the
                        the following respects:

       (a)     Failing
               Failing to   attempt in good
                         to attempt    good faith to effectuate
                                                      effectuate aa prompt,
                                                                    prompt, fair and
               equitable
               equitable settlement
                           settlement of
                                      of aa claim with respect
                                            claim with respect to
                                                                to with
                                                                   with the insurer's
               liability        become reasonably
               liability has become      reasonably clear
                                                      clear 0541.o6o(a)(2)
                                                             (§541.060(a)(2) Texas
                                                                               Texas
               Insurance
               Insurance Code);
                           Code); and

       (b)     Refusing
               Refusing to    pay aa claim
                           to pay      claim without
                                              without conducting
                                                         conducting aa reasonable
                                                                         reasonable
               investigation
               investigation with
                              with respect
                                   respect toto the
                                                 the claim
                                                      claim 0541.o6o(a)(7)
                                                             (§541.060(a)(7) Texas
                                                                              Texas
               Insurance Code).
               Insurance  Code).

Depositors acts
Depositors acts damaged
                damaged Cangelosi
                        Cangelosiininthe
                                      the amount
                                          amount of
                                                 of at least
                                                       least $604,427.98  less the
                                                             $604,427•98 less  the

applicable deductible
           deductible under
                      under the
                             the Policy.
                                 Policy.

       17.     Depositors knowingly
               Depositors knowinglycommitted
                                    committedthe
                                              the acts
                                                  acts about
                                                        about which
                                                               which Cangelosi
                                                                      Cangelosi
complains. Accordingly, Cangelosi
                        Cangelosiseeks
                                  seeksadditional
                                        additional damages
                                                   damages in
                                                            in an
                                                               an amount
                                                                  amount not to
                                                                             to exceed


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3 times actual
        actual damages
               damagesas
                       asprovided
                          providedfor
                                   forby
                                       by§541.152       Insurance Code.
                                         §541.152 Texas Insurance Code. Cangelosi also

seeks recovery of
               of its
                   its attorney's
                       attorney's fees,
                                  fees, costs
                                        costsand
                                              and pre
                                                  preand
                                                      and post
                                                          postjudgment
                                                               judgment interest
                                                                         interest and all other

available remedies
          remedies under
                   under this
                         this cause
                              cause of action.

       18.     Cangelosi gave written
                              written notice of
                                             of this
                                                 this claim
                                                      claimto
                                                            toDepositors
                                                              Depositors more
                                                                         more than
                                                                              than 6o days

       filing this
before filing  this action.
                    action.

             c) Unfair
                Unfair Settlement
                       Settlement Practices:
                                  Practices; Chapt.
                                             Chapt. 542 Texas Insurance Code

       i9.
       19.     Cangelosi
               Cangelosi incorporates
                         incorporates the
                                      the allegations of paragraphs
                                          allegations of paragraphs 1 through
                                                                      through 8 and
                                                                                and

paragraphs
paragraphs 14 and
              and 15 as the allegations of
                                        of this
                                            this paragraph.
                                                 paragraph.

       20.     Depositors committed unfair claims settlement practices
               Depositors committed                          practices iri
                                                                       in violation
                                                                           violation of
                                                                                     of

Texas Insurance
Texas Insurance Code to Cangelosi's damage in
                        Cangelosi's damage  in the
                                                the amount of at least $604,427.98
                                                                       $604,427•98 less
the applicable
    applicable deductible
               deductible under
                          under the
                                 thePolicy.
                                     Policy. As
                                             As more
                                                 morespecifically
                                                      specifically described
                                                                    described above,
                                                                               above,

Depositors' liability under
                      under the
                            the policy                      because:
                                policy was reasonably clear because:

       (a) The Cangelosi Building did not leak prior to the August 2017 storm and
       certainly
       certainly not
                 not to the extent,
                            extent, in the manner, and at the
                                                            the locations
                                                                 locations it leaked
                                                                              leaked
       during and
              and following that
                             that storm;
                                  storm;

       (b) The storm included
                      included a tornado
                                 tornado and/or
                                         and/or extremely
                                                 extremely high tornado force
                                                                        force
       wind;

       (c) The storm  winds caused obvious
                storm winds                    and significant
                                      obvious and  significant damage
                                                               damage inin and
                                                                           and around
                                                                               around
       the Cangelosi
            Cangelosi Building
                       Building including
                                   including knocking
                                             knockingdowndowntrees
                                                                trees and
                                                                      and tree limbs,
                                                                                limbs,
       knocking gutters
                  gutters and
                          anddownspouts
                               downspoutsoff   the Cangelosi Building,
                                           off the            Building, and
                                                                        and damaging
                                                                             damaging
       the roof and
       the roof  andwalls
                     walls of
                           of the
                              the Cangelosi
                                  Cangelosi Building;

       (d) None of the conditions which Depositors contends caused the      the damage,
       if they
          they existed,
                existed, would
                          would have
                                 haveresulted
                                      resultedin
                                               inthe
                                                  theimmediate
                                                      immediatewater
                                                                  waterpenetration
                                                                         penetration and
       damage thatthat Cangelosi
                       Cangelosi experienced for the 1st
                                                       ist time during the
                                                                        the August 2017
       storm
       storm ifif it were
                     were not
                          not for
                              for the
                                  the wind damage caused by the the storm;
                                                                    storm;

       (e) Cangelosi's
           Cangelosi's engineer
                       engineer specifically
                                  specificallyre-butted
                                               re-butted Depositor's
                                                         Depositor's reasons
                                                                     reasons for
       denying Cangelosi's claim; and

       (f) Depositors continued to deny Cangelosi's without further
                                        Cangelosi's without further inspection or
       inquiry of Cangelosi.
       inquiry


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Depositors' denial
            denial of the claim constitutes not attempting
                                                attempting in
                                                           in good
                                                              good faith to effect aa prompt,
                                                                                      prompt,

fair,
fair, and equitable
          equitable settlement
                    settlement of
                               of aa claim
                                      claim submitted
                                             submitted in
                                                        in which
                                                            which liability
                                                                   liability has
                                                                             has become
                                                                                  become

reasonably
reasonably clear
           clear and is a prohibited
                          prohibited unfair claims
                                            claims settlement practice under §542.003

Texas Insurance
      Insurance Code.

        21.
        21.    Depositors
               Depositors continues
                          continues to
                                    to refuse
                                       refuse to pay
                                                 pay Cangelosi's
                                                     Cangelosi's claim
                                                                 claim in violation
                                                                          violation of
                                                                                    of

Chapter 542 Texas Insurance Code. In addition
                  Insurance Code.    addition to
                                              to the
                                                 the amount
                                                     amountof
                                                            of its
                                                               its claim
                                                                   claim Cangelosi seeks

            the amount
interest on the amountof
                       of the
                           theclaim
                              claim at
                                    at the
                                       the rate
                                            rateof
                                                of 18 percent a year as damages, together

with reasonable and
                and necessary
                    necessary attorney's
                              attorney's fees as provided in §542.060
                                                             §542.o6o Texas Insurance

Code, costs,
Code, costs, pre
             pre and post judgment
                          judgment interest
                                   interest as
                                            as allowed
                                                allowed by law, and all
                                                                    all other
                                                                        other available
                                                                              available

remedies under this
               this cause
                    cause of action.

       22.     Cangelosi gave
                         gave written
                              written notice of
                                             of this
                                                 this claim
                                                      claimto
                                                            toDepositors
                                                              Depositors more
                                                                         more than
                                                                               than 6o days

before filing this
              this action.

                   d) Deceptive Trade Practices Consumer Protection
                                                         Protection Act

       23.     Cangelosi
               Cangelosiincorporates
                         incorporatesthe
                                      theallegations
                                          allegationsofofparagraphs
                                                          paragraphs1i through
                                                                        through 88 and

paragraphs i4
paragraphs 14 and
              and15
                  15 as
                     as the
                        the allegations
                            allegations of this
                                           this paragraph.

       24.     Depositors'
               Depositors' actions described above and more particularly
                                                            particularly in paragraphs
                                                                            paragraphs 14

and 15 above
       above are
             are unfair
                 unfair method of competition or an unfair or deceptive act or practice in

the business
    business of
             of insurance
                insurancein
                          inviolation
                            violation Chapter
                                      Chapter541
                                              541 Texas Insurance
                                                        Insurance Code
                                                                  Code in the
                                                                          the following
                                                                              following

respects:

       (a)     Failing to
               Failing   to attempt
                            attempt in good   faith to effectuate
                                       good faith      effectuate aa prompt,  fair and
                                                                     prompt, fair
               equitable
               equitable settlement
                           settlement of
                                      of aa claim  with respect
                                            claim with  respect to
                                                                 to with
                                                                    with the insurer's
               liability  has become
               liability has    become reasonably
                                         reasonably clear
                                                       clear 0541.o6o(a)(2)
                                                              (§541.060(a)(2) Texas
                                                                                Texas
               Insurance Code);
               Insurance   Code); and

       (b)     Refusing
               Refusing to    pay aa claim
                           to pay      claim without
                                              without conducting
                                                         conducting aa reasonable
                                                                         reasonable
               investigation
               investigationwith
                              with respect
                                   respect toto the
                                                 the claim
                                                      claim 0541.o6o(a)(7)
                                                             (§541.o6o(a)(7) Texas
                                                                              Texas
               Insurance Code).
               Insurance  Code).


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As such
   such they also violate the
                          the Texas
                              Texas Deceptive Trade Practices Consumer Protection
                                                                       Protection Act
                                                                                  Act

("DTPA") pursuant
("DTPA")          to §17.50(a)(4) Texas
         pursuant to              Texas Business
                                        Business and
                                                 and Commerce
                                                     Commerce Code.
                                                              Code. Depositors'
                                                                    Depositors' acts

were
were a producing cause of economic
                          economic damages
                                   damages to
                                            to Cangelosi
                                               Cangelosiininthe
                                                             the amount
                                                                 amount of
                                                                        of at least

$604,427.98 less the
$604,427•981ess  the applicable deductible under
                                           under the
                                                 the Policy.
                                                     Policy.

        25.     Depositors also acted
                Depositors also acted knowingly and intentionally
                                                    intentionally as defined
                                                                     defined by
                                                                             by the
                                                                                the DTPA.
                                                                                    DTPA.

Accordingly, Cangelosi
Accordingly, Cangelosiisisentitled
                           entitledtotorecover
                                        recoveran
                                                anamount
                                                   amountnot
                                                          notmore
                                                             morethan
                                                                  than three
                                                                       three times its

economic
economic damages pursuant
                 pursuant to
                           to§17.5o(b)(1)
                              §17.50(b)(1) Texas Business and Commerce
                                           Texas Business     Commerce Code for

which
which it also sues. Cangelosi
                    Cangelosi also
                              also seeks
                                   seeks recover
                                         recover of
                                                 ofits
                                                    itsattorney's
                                                        attorney's fees,
                                                                    fees, costs
                                                                          costs and
                                                                                and pre and

post judgment interest
              interest and
                       andall
                           all other
                               other available
                                     available remedies under this
                                                              this cause of action.

        26.     Cangelosi gave written
                               written notice
                                       notice of
                                              ofthis
                                                 this claim
                                                      claimto
                                                            toDepositors
                                                              Depositorsmore
                                                                         more than
                                                                               than 6o days

before filing this
               this action.

        WHEREFORE, PREMISES CONSIDERED,
                            CONSIDERED,Cangelosi
                                        CangelosiCompany,
                                                 Company, Inc.
                                                           Inc. respectfully
                                                                respectfully

prays that upon final hearing
                      hearing it have and recover judgment
                                                  judgment against
                                                           against Depositors
                                                                   Depositors Insurance
                                                                              Insurance

for the following:

       (a) Actual damages;
       (b) Additional or exemplary     damages as allowed
                           exemplary damages                   by the Texas
                                                      allowed by      Texas Insurance
       Code and/or   theTexas
             and/or the   Texas Deceptive
                                Deceptive Trade Practices Consumer Protection
                                                                       Protection Act;
       (c) Attorney's fees;
       (d) Interest asallowed
           Interest as allowed by
                                by Texas Insurance Code;
       (d) Costs of Court;
       (e) Pre and
               and post
                    post judgment
                         judgmentinterest
                                    interestasasallowed
                                                 allowed by
                                                          by law;
       (f) Such other and
                       and further
                            further relief
                                     relief to
                                            to which
                                               which it shows itself justly entitled to
       receive.




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Plaintiff   Original Petition —
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                                                RESPECTFULLY SUBMITTED,


                                                            Koqer
                                                Douglas E. Koger
                                                DOUGLAS E. KOGER
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                                                State         11654950
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                                                242    Katy
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                                                                     Suite  400
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                                                          (346) 818-2075
                                                                 818-2075

                                                Attorney for Plaintiff
                                                Attorney




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                                                Texas                     RETURN RECEIPT
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                          OFFICIALBUSINESS
                          OFFICIAL BUSINESS                                 _
                          Penalty
                          Penalty for Private Use
                                      for Private Use


                                                                        DEPOSITORS INSURANCECOMPANY
                                                                                      INSURANCE"COMPANY ..
                                                                        C/O
                                                                        C/O CORPORATION
                                                                             CORPORATION SERVICE
                                                                                            SERVICECOMPANY
                                                                                                    COMPANY
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                                                                                      78701-3218

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